Case 1:21-cv-02373-JDB-jay Document1-5 Filed 06/04/21 Pagei1of5 PagelD 50

EXHIBIT 5
Case 1:21-cv-02373-JDB-jay Document1-5 Filed 06/04/21 Page2of5 PagelD 51

STOCK COMPANY

WESTERN
WORLD

AN AIG] company

WESTERN WORLD INSURANCE COMPANY

COMMERCIAL LINES POLICY

POLICY NUMBER: NPP8664937

Prior Policy Number: NPP8518775

[_] TUDOR INSURANCE COMPANY

[_] STRATFORD INSURANCE COMPANY

COMMON POLICY DECLARATIONS

Named Insured and Mailing Address:
Olympic Steakhouse

5711 Hwy 412

BELLS, TN 38006

Producer:

Risk Placement Services, Inc. - Florence
301 E. Limestone Street

Florence, AL. 35630

Policy Period: (Mo./Day/Yr.)
From: 03/13/2020

To: 03/13/2021

Agent/Broker #31601

This insurance contract is with an insurer not licensed
to transact insurance in the state and is issued and
delivered as a surplus line coverage pursuant to the

Tennessee Insurance statutes.

12:01 AM, standard time at your mailing address shown above.

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGES FOR WHICH A PREMIUM IS INDICATED.
THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

Commercial Property Coverage Part
Commercial General Liability Coverage Part

Commercial Auto Coverage Part

¢

z=
$ NOT COVERED
$

$

$

Other Coverages:

Terrorism Risk Insurance Act

$ NOT COVERED
$

TOTAL ADVANCE PREMIUM
Broker Fee - RPS
TN Surplus Lines Tax
TN Clearinghouse Fee

attached at time of issue:

Forms and endorsements appiying to this policy and

See Applicable Schedule Of Forms And Endorsements

GRAND TOTAL

s i

Page 1 of 2

COMPANY

VWV230 (06/17)
Case 1:21-cv-02373-JDB-jay Document1-5 Filed 06/04/21 Page3o0f5 PagelD 52

COMMON POLICY DECLARATIONS (continued)

POLICY NUMBER: NPP8664937

The Named Insured is:

Individual (_] Partnership — [_] Limited Liabitity Company — [J Organization/Corporation [[] Trust

LJ Other
Location of Business: Business Description:
See WW10A Restaurant

THESE DECLARATIONS TOGETHER WITH THE COVERAGE PART DECLARATIONS, THE COMMON POLICY
CONDITIONS, COVERAGE FORM(S), AND FORMS AND ENDORSEMENTS, IF ANY, COMPLETE THE ABOVE NUMBERED
POLICY.

WESTERN WORLD INSURANCE GROUP

Western World Insurance Company
Tudor Insurance Company
Stratford Insurance Company

Administrative Office
300 Kimball Drive, Suite 500
Parsippany, New Jersey 07054

We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of this policy. If required by state law, this policy shall not be valid unless countersigned by our authorized
representative.

Secretary President

Countersigned:

By
03/19/2020 SHAIKHMI

Authorized Representative

Page 2 of 2 VWV230 (06/17)

Case 1:21-cv-02373-JDB-jay Document1-5 Filed 06/04/21 Page4of5 PagelD 53

COMMERCIAL PROPERTY COVERAGE PART

Policy Number: NPP8664937

DECLARATIONS

Effective Date: 03/13/2020

LOCATION

12:01 A.M., Standard Time

"X" if Supplemental Declarations is attached.

PREM BLDG]
NO, NO. (Street, City, State, Zip) CONSTRUCTION OCCUPANCY
4 1 5711 Hwy 412 BELLS, TN 38006 Modified Fire Restaurants
Resistive

4 2 5711 Hwy 412 BELLS, TN 38006

Noncombustible

Warehouses

1 3 5711 Hwy 412 BELLS, TN 38006

Noncombustible

Warehouses

1 4 5711 Hwy 412 BELLS, TN 38006

Noncombustible

Warehouses

PREM] BLDG. LIMIT OF COVERED COINSUR
NO. NO. COVERAGE INSURANCE CAUSES OF LOSS ANCE} PREMIUM
4 4 Building $1,020,000 Special so % |
4 4 Business Personal Property $31,200 Special! 80 % a
1 1 Spoilage - CP0440 $10,000 Special »,|
4 4 Business Income (and Extra Expense) $125,000 Special »,|
41 1 Property Plus - Direct Damage $50,000 Special % a
4 2 Building $75,000 Special 80 % i
1 3 Building $75,000 Special 80 % i |
1 4 Building $151,500 Special 80 % i

LY We

REPLACEMENT COST - (X) BELOW HEADING WHERE APPLICABLE

APPLIES TO BUSINESS INCOME ONLY

MONTHLY MAXIMUM EXTENDED
BUSINESS LIMIT OF PERIOD PERIOD OF
PREM| BLDG. PERSONAL INCLUDING PREM | BLDG. INDEMNITY OF INDEM. INDEM.
NO. | NO. BUILDING PROPERTY "STOCK" NO. | NO. (Fraction) (Days) (Days)
1 1 x 4 4 1/4
4 4 x
1 2 x
4 3 x
1 4 xX

FORMS AND ENDORSEMENTS APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE -
SEE SCHEDULE OF FORMS AND ENDORSEMENTS

PREMIUM FOR THIS COVERAGE PART:

$7,938.00

THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

WW 231 (08/11)
Case 1:21-cv-02373-JDB-jay Document1-5 Filed 06/04/21 Page5of5 PagelD 54

COMMERCIAL PROPERTY COVERAGE PART
SUPPLEMENTAL DECLARATIONS

Policy Number: NPP8664937 Effective Date: 03/13/2020 12:01 A.M., Standard Time

LOCATION
NO.| NO, (Street, City, State, Zip) CONSTRUCTION OCCUPANCY

LIMIT OF COVERED COINSUR-

NO, | NO, COVERAGE INSURANCE CAUSES OF LOSS ANCE} PREMIUM
4 4 Business Personal Property $72,800 Special so % | i
4 4 {Spoilage - CP0440 $25,000 Special o, |
ALL | ALL |Equipment Breakdown $ % | $Incl.

$ % 1 $

$ % | $

$ % |$

$ % 1S

$ % |S

$ % | $

$ % | 8

t IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS PAYMENT
APPLIES TO BUSINESS INCOME ONLY

REPLACEMENT COST - (X) BELOW HEADING WHERE APPLICABLE

MONTHLY MAXIMUM | EXTENDED
BUSINESS LIMIT OF PERIOD PERIOD OF

PREM| BLDG, PERSONAL INCLUDING PREM] BLDG, INDEMNITY OF INDEM. INDEM.

NO. | NO. BUILDING PROPERTY "STOCK" NO. NO, (Fraction) (Days) (Days)

1 4 x

4 4 x

THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

WW 451 (08/11)
